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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

JOSHUA DUNN, et al.,                             )
                                                 )
              Plaintiffs,                        )
                                                 )
v.                                               ) Case No. 2:14-cv-00601-MHT-TFM
                                                 )
JEFFERSON DUNN, et al.,                          )
                                                 )
              Defendants.                        )

            THE STATE’S MOTION FOR SUMMARY JUDGMENT
        Pursuant to Rule 56 of the FEDERAL RULES OF CIVIL PROCEDURE,

Defendants Jefferson Dunn, as Commissioner of the ADOC1 (“Commissioner”),

and Ruth Naglich, as Associate Commissioner for Health Services of the ADOC

(“Associate Commissioner” and, collectively with the Commissioner, “the State”),

hereby submit this Motion for Summary Judgment as to the “First Cause of Action:

Inadequate Medical Care,” “Second Cause of Action: Inadequate Mental Health

Treatment” and “Third Cause of Action: Deprivation of Due Process Prior to

Involuntarily Medicating Prisoners” set forth in the Fourth Amended Complaint.

1
  “ADOC” refers to the Alabama Department of Corrections. Despite contradictory language in
the Fourth Amended Complaint related to the ADOC, the first, second and third “Causes of
Action” asserted in the Fourth Amended Complaint clearly reference only the “OFFICIAL
CAPACITY DEFENDANTS.” (Doc. 611 at ¶¶ 446-454). As set forth in the Memorandum of
Law and herein below, no claim under 42 U.S.C. § 1983 lies against the ADOC. Nevertheless,
to the extent that the Court construes these provisions of the Fourth Amended Complaint to state
any claim against the ADOC, then the ADOC joins with the Commissioner and Associate
Commissioner in this Motion for Summary Judgment.
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(Doc. 611 at ¶¶ 446-454). Through submission of this Motion for Summary

Judgment, the State’s Narrative Statement of Undisputed Facts, the supporting

Memorandum of Law and the thousands of pages of evidence (including the sworn

testimony, medical records and mental health records of the Named Plaintiffs)

submitted contemporaneously with this Motion for Summary Judgment, the State

establishes that there is no genuine dispute as to any material fact and the State is

entitled to judgment as a matter of law as to the claims of Named Plaintiffs2 for

purported violations of their rights under the Eighth and Fourteenth Amendments.

In further support of this Motion for Summary Judgment, Commissioner Dunn and

Associate Commissioner Naglich state as follows:

       1.      When the Southern Poverty Law Center (“SPLC”) initiated this action

in June, 2014, its 120-page Complaint alleged a litany of wrongdoing and

purported     constitutional     shortcomings       affecting     forty-two     (42)    inmates

incarcerated within the prison system operated by the ADOC.3 (Doc. 1). Over the


2
 “Named Plaintiffs” refers to Joshua Dunn, Sheila Allen, Edward Braggs, Tedrick Brooks, Gary
Lee Broyles, Quang Bui, Richard Businelle, Howard Carter, Chandler Clements, Robert Dillard,
Paul Folsom, Christopher Gilbert, Dwight Hagood, Daletrick Hardy, Sylvester Hartley, Charlie
Henderson, Christopher Jackson, Brandon Johnson, John Maner, Rick Martin, Willie
McClendon, Roger McCoy, Jermaine Mitchell, Kenneth Moncrief, Tommie Moore, Matthew
Mork, Roger Moseley, Bradley Pearson, Leviticus Pruitt, Turner Rogers, Timothy Sears, Brian
Sellers, Augustus Smith, William Sullivan, Richard Terrell, Hubert Tollar, Daniel Tooley,
Joseph Torres, Donald Ray Turner, Jamie Wallace and Robert “Myniasha” Williams.
3
 Plaintiffs do not assert their constitutional tort claims against the ADOC (Doc. No. 611 at 132-
34); however, in the prayer for relief, Plaintiffs seek injunctive relief against the ADOC (id. at
137-38). Of course, the ADOC is absolutely immune from any claim asserted or relief sought by
Plaintiffs under § 1983. Alabama v. Pugh, 438 U.S. 781 (1978); see also Pennhurst State School

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twenty-seven (27) months since the filing of this lawsuit, the parties have

conducted an enormous amount of discovery.                    SPLC amended its original

Complaint on four (4) different occasions4 – often reciting the very same

allegations, while making selected revisions to correct obvious defects.                    The

hundreds of depositions taken and hundreds of thousands of pages produced by the

State lead to one conclusion – the core allegations asserted by SPLC about the

Named Plaintiffs are fiction. The Fourth Amended Complaint (Doc. 611) persists

in restating a version of events and circumstances regarding the Named Plaintiffs,

including denials of treatment, delays in medical and mental health care, the

unavailability of necessary services and even deliberate mistreatment.                        As

discovery revealed, they never occurred.

       2.     Moreover, discovery in this action highlighted how SPLC

fundamentally erred in their blind reliance upon the unverified assertions of a

select number of inmates which SPLC failed to confirm through a simple review of



& Hosp. v. Halderman, 465 U.S. 89, 98-100 (1984). As such, ADOC is due to be dismissed as a
party-defendant to this action. Id.
4
  The State’s Motion for Summary Judgment addresses the Fourth Amended Complaint, which is
currently the operative pleading. Named Plaintiffs sought leave to file a Fifth Amended
Complaint, which the Court indicated, during one in-court proceeding, it would grant. However,
as of this date, the Fifth Amended Complaint has not yet been docketed. The State understands
that the allegations with respect to the medical and mental health care the individual Named
Plaintiffs received will remain unchanged between the Fourth and Fifth Amended Complaints.
Nevertheless, the State reserves the right to amend, alter, supplement or otherwise resubmit this
Motion for Summary Judgment in the event that Named Plaintiffs are permitted to amend their
pleadings after the filing of this document.

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medical and mental health records.5 Time after time, Named Plaintiffs’ medical

and mental health records (and, in many instances, their deposition testimony)

disproved the sensational narratives set forth in the Fourth Amended

Complaint.            As demonstrated through the State’s Narrative Statement of

Undisputed Facts (filed under seal), the extensive medical and mental health

treatment afforded the Named Plaintiffs disproves the Named Plaintiffs’ central

claim         that     the   State   deliberately       disregarded   their     serious   medical

needs.        Consequently, they fail to demonstrate any deprivation of their

constitutional rights under 42 U.S.C. § 1983 (“§ 1983”).

         3.          This action is a transparent and flawed attempt to legislate by lawsuit.

The SPLC – the real plaintiff before this Court – seeks to impose its conjectural

“wants” and “wishes” upon the ADOC in derogation of the inalienable right of the

State of Alabama (and its legislature) to govern. While SPLC’s destination

appears to be a total abandonment of the constitutional requirements in favor of

their self-declared “standard of care,” the facts and circumstances surrounding the

Named Plaintiffs simply constitute an inadequate vehicle to deliver SPLC to that

destination.




5
  Through Requests for Admissions served on Named Plaintiffs, the State confirmed that SPLC
did not obtain the medical records of 41 of the Named Plaintiffs prior to the filing of the
Complaint in this action. (Plts.’ Resp. to State’s Reqs. for Admiss. (Doc. 382-1) at ¶¶ 1 – 41).

                                                    4
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       4.      The specific circumstances of the Named Plaintiffs demonstrate a

functioning system of medical and mental health care that meets and surpasses the

standards established by the Eighth Amendment. In sharp contrast to the

allegations of the Complaints, the facts before this Court demonstrate that the

counselors, nurses, dentists, psychiatrists, social workers, physicians and

correctional    officers    working      in   Alabama’s       correctional     facilities   are

conscientiously and competently providing healthcare to over 24,000 individuals

under extremely challenging circumstances.                Their actions are cause for

commendation, not condemnation via class action

       5.      As discussed in greater detail in the State’s supporting Memorandum

of Law (filed under seal), Plaintiffs’ Fourth Amended Complaint remains fatally

deficient because:

               2 Named Plaintiffs asserted medical claims which were
                 previously dismissed with prejudice;
               14 Named Plaintiffs raised medical-related claims
                  barred by the applicable statute of limitations6;
               21 Named Plaintiffs admitted never exhausting the
                  existing grievance process before filing their medical
                  claims in this action;



6
  Powell v. Thomas, 643 F.3d 1300, 1303 (11th Cir. 2011); see also Caldwell v. Bentley, No.
2:11CV975-MHT WO, 2015 WL 1198608, at *27, n.7 (M.D. Ala. Mar. 16, 2015)(quoting
McNair v. Allen, 515 F.3d 1168, 1173 (11th Cir. 2008))(holding, “in order to have his [§1983]
claim heard, [plaintiff] was required to bring it within two years from the date the limitations
period began to run”); Pompey v. Lumpkin, 321 F. Supp. 2d 1254, 1256, 1266 (M.D. Ala. 2004)

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             4 Named Plaintiffs assert medical claims which are
               barred by 9 prior legal actions filed by them;

             8 Named Plaintiffs’ claims of inadequate medical
               treatment are moot because they are no longer in the
               custody of the ADOC;
             6 Named Plaintiffs who are still in the ADOC’s
               custody asserted claims regarding medical care that
               are moot because of changed factual circumstances;

             10 Named Plaintiffs assert claims related to minor
                medical conditions, not serious medical needs;

             2 Named Plaintiffs claim inadequate medical care for
               non-existent conditions;

             0 Named Plaintiffs demonstrate any level of
               indifference by the State or its contract providers to
               inmates’ medical conditions;

             3 Named Plaintiffs raise mental health claims barred
               by the applicable statute of limitations;

             4 Named Plaintiffs’ claims of inadequate mental health
                treatment are moot because they are no longer in the
                custody of the ADOC;
             13 Named Plaintiffs admit never exhausting the existing
                grievance process before filing their claims regarding
                mental health;

             0 Named Plaintiffs demonstrate any level of
               indifference by the State or its contract providers to
               inmates’ mental health conditions

So, the Named Plaintiffs’ claims fail to satisfy the basic legal standards which must

be satisfied in order to maintain any claim under § 1983.




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      6.     From the original Complaint, through the Fourth Amended

Complaint, SPLC claimed the mental health professionals within the ADOC

involuntarily medicated five (5) Named Plaintiffs without due process. Mental

health records signed by four (4) of those Named Plaintiffs demonstrated that they

were never involuntarily medicated, a fact that they confirmed in their deposition

testimony. Inexplicably, SPLC refused to modify its pleadings to acknowledge

this fact. As to the sole inmate who was involuntarily medicated, the record

establishes as a matter of law that his treatment was appropriate and that

appropriate procedural safeguards were followed.          Accordingly, all of the

involuntary medication claims have no factual basis and cannot survive summary

judgment.

      7.     Even putting aside the unsubstantiated nature of Named Plaintiffs’

allegations and the legal hurdles impeding their path to trial, Named Plaintiffs lack

the evidence necessary to establish any causal connection between the purported

constitutional deprivations and any act or omission of either the Commissioner or

Associate Commissioner. McDowell v. Brown, 392 F.3d 1283, 1290-91, 1292

(11th Cir. 2004).    In the absence of this evidence, their claims can only be

construed as impermissibly relying upon the theory of respondeat superior.

      8.     Lastly, the vast and expansive reformation of the Alabama prison

system sought in this action, as set forth in the closing pages of the Fourth


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Amended Complaint, runs afoul of the Ex parte Young doctrine. See Seminole

Tribe of Fla. v. Florida, 517 U.S. 44 (1996)(mandating the narrow relief permitted

via the Ex parte Young doctrine to claims against a State official in his or her

official capacity for prospective relief in order to redress a “continuing violation of

federal law.”). Pursuant to Ex parte Young, neither Named Plaintiffs nor SPLC

may invade the sovereignty of the State or supplant the State’s judgment as to the

operation of its prison system. Lewis v. Casey, 518 U.S. 343, 362 (1996).

         9.   The evidentiary record submitted today to this Court includes

thousands of pages of medical records including doctor’s notes, prescriptions,

specialty consultations, lab results, x-rays, CT scans, ultrasounds, vital signs,

specialty consults, surgical interventions, hospital discharge instructions, suicide

prevention plans, individual counseling notes, group meeting observations and the

list goes on and on. The twenty-eight (28) boxes of documents delivered to the

Court today memorialize all of the medical and mental health care provided to the

Named Plaintffs.     No one with any concern for truth can ever suggest that the

Named Plaintiffs did not receive medical care or mental health care while in the

custody of the ADOC. However, even in the face of this extensive medical and

mental health care provided to the Named Plaintiffs, SPLC simply believes they

should receive “more.” But, SPLC’s insistence on “more” is not a constitutional

claim.


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      WHEREFORE, PREMISES CONSIDERED, Commissioner Jefferson Dunn

and Associate Commissioner Ruth Naglich respectfully request that this Court

enter a judgment as a matter of law in their favor as to the claims for violations of

the Eighth and/or Fourteenth Amendment asserted by each and every Named

Plaintiff. Fed. R. Civ. P. 56(a).

      Respectfully submitted on this the 23rd day of September, 2016.

                                       /s/ William R. Lunsford
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                                       Associate Commissioner


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                         CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served upon all
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